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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


 In re:                                       Chapter 7

 U.S. Auto Sales, Inc.,                       Case No. 23-11251 (___)

                    Debtor.


 In re:                                       Chapter 7

 U.S. Auto Finance, Inc.,                     Case No. 23-11252 (___)

                    Debtor.


 In re:                                       Chapter 7

 U.S. Auto Receivables Financing, LLC,        Case No. 23-11253 (___)

                    Debtor.


 In re:                                       Chapter 7

 USASF LLC,                                   Case No. 23-11254 (___)

                    Debtor.


 In re:                                       Chapter 7

 USASF National Corp.,                        Case No. 23-11255 (___)

                    Debtor.


 In re:                                       Chapter 7

 USASF Servicing LLC,                         Case No. 23-11256 (___)

                    Debtor.




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           THE CHAPTER 7 CASES SCHEDULES AND SOFAS GLOBAL NOTES

These Global Notes regarding the above-captioned debtors and debtors in possession
(collectively, the “Debtors”) Schedules of Assets and Liabilities (the “Schedules”) and
Statements of Financial Affairs (the “SOFAs”) comprise an integral part of the Schedules
and SOFAs and should be referred to and considered in connection with any review of them.

       1.       The Debtors prepared these unaudited Schedules and SOFAs pursuant to section
521 of title 11 of the United States Code (the “Bankruptcy Code”) and Rule 1007 of the Federal
Rules of Bankruptcy Procedure (the “Bankruptcy Rules”). Except where otherwise noted, the
information provided herein is presented as of July 31, 2023.

       2.      While the Debtors have made every reasonable effort to ensure that the Schedules
and SOFAs are accurate and complete based upon information that was available to them at the
time of preparation, inadvertent errors or omissions may exist and the subsequent receipt of
information and/or further review and analysis of the Debtors’ books and records may result in
changes to financial data and other information contained in the Schedules and SOFAs. Moreover,
because the Schedules and SOFAs contain unaudited information, which is subject to further review
and potential adjustment, there can be no assurance that the Schedules and SOFAs are complete or
accurate.

        3.      In reviewing and signing the Schedules and SOFAs, Mark Houston, the duly
authorized and designated representative of the Debtors (the “Authorized Representative”), has
necessarily relied upon the prior efforts, statements and representations of current and former
employees, independent contractors and professionals of the Debtors. The Authorized
Representative has not (and could not have) personally verified the accuracy of each such
statement and representation that collectively provide the information presented in the Schedules
and SOFAs, including but not limited to, statements and representations concerning amounts owed
to creditors and their addresses.

        4.     The Debtors and their past and present directors, officers, employees, attorneys,
professionals and agents (including, but not limited to, the Authorized Representative) do not
guarantee or warrant the accuracy, completeness or currentness of the data that is provided herein
and shall not be liable for any loss or injury arising out of or caused in whole or in part by the acts,
errors or omissions, whether negligent or otherwise, in procuring, compiling, collecting,
interpreting, reporting, communicating or delivering the information contained herein. The
Debtors and their past and present officers, employees, attorneys, professionals and agents
(including, but not limited to, the Authorized Representative) expressly do not undertake any
obligation to update, modify, revise or recategorize the information provided herein or to notify
any third party should the information be updated, modified, revised or recategorized. While
commercially reasonable efforts have been made to provide accurate and complete information
herein, inadvertent errors or omissions may exist. In no event shall the Debtors or their past or
present officers, employees, attorneys, professionals and/or agents (including, but not limited to,
the Authorized Representative) be liable to any third party for any direct, indirect, incidental,
consequential or special damages (including, but not limited to, damages arising from the
disallowance of any potential claim against the Debtors or damages to business reputation, lost


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business or lost profits), whether foreseeable or not, however caused, arising from or related to
any information provided herein or omitted herein.

        5.      The Debtors reserve their rights to amend the Schedules and SOFAs as may be
necessary or appropriate in the Debtors’ sole and absolute discretion, including, but not limited to,
the right to assert offsets or defenses to (which rights are expressly preserved), or to dispute, any
claim reflected on the Schedules as to amount, liability or classification, or to otherwise
subsequently designate any claim as “disputed,” “contingent” or “unliquidated.” These Global
Notes will apply to all such amendments. Furthermore, nothing contained in the Schedules or
SOFAs shall constitute a waiver of the Debtors’ rights with respect to the chapter 7 cases and
specifically with respect to any issues involving substantive consolidation, equitable subordination
and/or causes of action arising under the provisions of chapter 5 of the Bankruptcy Code and
relevant non-bankruptcy laws to recover assets or avoid transfers, or an admission relating to the
same. Any specific reservation or rights contained elsewhere in the Global Notes does not limit
in any respect the general reservation of rights contained in this paragraph.

        6.      Any failure to designate a claim listed on the Debtors’ Schedules as “disputed,”
“contingent” or “unliquidated” does not constitute an admission by the Debtors that such amount
is not “disputed,” “contingent” or “unliquidated.” Additionally, the dollar amounts of claims listed
may be exclusive of contingent and additional unliquidated amounts. Further, the claims of
individual creditors are listed as the amounts entered on the Debtors’ books and records and may
not reflect credits or allowances due from such creditors to the Debtors or setoffs applied by such
creditors against amounts due by such creditors to the Debtors with respect to other transactions
between them. The Debtors reserve all of their rights with respect to any such credits and
allowances. Furthermore, listing a claim does not constitute an admission of liability by the Debtor
against which the claim is listed or against any of the Debtors.

        7.       Some of the Debtors’ scheduled assets and liabilities are unknown and/or
unliquidated. In such cases, no amounts are listed or the amounts are listed as “undetermined,”
“unknown” or to similar effect. Accordingly, for this and other reasons, the Schedules may not
fully reflect the aggregate amount of the Debtors’ assets and liabilities.

        8.      At times, the preparation of the Schedules and SOFAs required the Debtors to make
assumptions that may affect the reported amounts of assets and liabilities, the disclosures of
contingent assets and liabilities and/or other items. Actual results could differ from those
estimates. M Pursuant Bankruptcy Rule 1009, the Debtors may amend their Schedules and SOFAs
as they deem necessary and appropriate to reflect material changes. In addition, the Debtors, for
the benefit of their estates, reserve the right to dispute or to assert offsets or defenses to any claim
listed on the Schedules or SOFAs.

        9.      Given the differences between the information requested in the Schedules and the
financial information utilized under generally accepted accounting principles in the United States
(“GAAP”), the aggregate asset values and claim amounts set forth in the Schedules may not
necessarily reflect the amounts that would be set forth in a balance sheet prepared in accordance
with GAAP.



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         10.     Certain litigation actions (collectively, the “Litigation Actions”) reflected as claims
against a particular Debtor may relate to any of the other Debtors. The Debtors made reasonable
efforts to accurately record the Litigation Actions in the Schedules and Statements of the Debtor
that is the party to the Litigation Action. The inclusion of any Litigation Action in the Schedules
and Statements does not constitute an admission by the Debtors of liability, the validity of any
Litigation Action or the amount of any potential claim that may result from any claims with respect
to any Litigation Action or the amount and treatment of any potential claim resulting from any
Litigation Action currently pending or that may arise in the future.

       11.     For purposes of the Schedules and Statements, the Debtors assume that invoices
were paid from retainers provided by different Debtors on a first in, first out basis. Cole Schotz
P.C. received two $50,000 retainers from U.S. Auto Sales, Inc. on April 18, 2023 and June 20,
2023. Cole Schotz P.C. received two $250,000 retainers from U.S. Auto Finance, Inc. on
April 20,2023, $250,000 of which was returned to U.S. Auto Sales, Inc. at the direction of the
Debtors. Cole Schotz P.C. deposited another $25,000 from U.S. Auto Sales, Inc. in retainer on
August 11, 2023, and drew down on these retainers to pay its pre-petition invoices.

        12.    With respect to Schedule A/B, Question 8, the retainer amounts paid by the Debtors
to their bankruptcy counsel, Cole Schotz P.C., and their administrative advisor, BDO Consulting
Group, LLC, on an earned upon receipt basis, do not constitute an interest of the Debtors in
property and are thus not listed. The amounts paid are listed in response to SOFA Question 11.

       13.     With respect to Schedule A/B, Question 21 on U.S. Auto Sales, Inc.’s Schedules,
the Debtors have presented their vehicle inventory on a consolidated basis, and have not included
depreciation in the Current Value.

       14.    With respect to the Schedules, the Current Values reported do not include
depreciation.

      15.         The Debtors have omitted intercompany receivables and payables from the
Schedules.

        16.     The businesses of the Debtors are complex and, while every effort has been made
to ensure the accuracy of Schedule G, inadvertent errors or omissions may have occurred. The
Debtors hereby reserve all of their rights to (i) dispute the validity, status or enforceability of any
contracts, agreements or leases set forth in Schedule G and (ii) amend or supplement Schedule G
as necessary. Furthermore, the Debtors reserve all of their rights, claims and causes of action with
respect to the contracts and agreements listed on the Schedules, including the right to dispute or
challenge the characterization or the structure of any transaction, document or instrument. The
presence of a contract or agreement on Schedule G does not constitute an admission that such
contract or agreement is an executory contract or unexpired lease.

       17.     With respect to SOFA Part 2, the Debtors consider “regular employee
compensation” to include payments on account of employee benefits, insurance and 401k
contributions as such payments are deducted from employee wages and made as part of the normal
compensation cycle.


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        18.     With respect to SOFA Questions 3-4, certain payment dates disclosed (particularly
those listed with the last day of a particular month) are as of the date the disbursement was posted
in the Debtors’ general ledger rather than the specific disbursement date. The Debtors have bank
statements available to assist in a full reconciliation between posting date and disbursement date.

         19.      The Debtors have excluded intercompany transactions from SOFA Question 4.

        20.    Debtors contacted various parties in connection with their restructuring efforts, and
the Debtors, through their advisors, may have shared certain financial information with those
parties, who are not individually disclosed in response to SOFA Question 26(d).




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 Fill in this information to identify the case:

 Debtor name            U.S. Auto Sales, Inc.

 United States Bankruptcy Court for the:                       DISTRICT OF DELAWARE

 Case number (if known)               23-11251
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                  0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $      57,382,758.22

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $      57,382,758.22


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $      26,128,481.42


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $       2,608,648.87

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$      23,259,488.06


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $        51,996,618.35




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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Fill in this information to identify the case:

Debtor name        U.S. Auto Sales, Inc.

United States Bankruptcy Court for the:     DISTRICT OF DELAWARE

Case number (if known)        23-11251
                                                                                                                                 Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                       debtor's interest

3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number
                  First Horizon - accounts 4989, 5003,
           3.1.   3248, 7750 & 9797                                   Checking/DDA                          4989                                 $214,501.37




           3.2.   Regions Bank                                        Checking/DDA                          5247                                        $463.88



4.         Other cash equivalents (Identify all)

5.         Total of Part 1.                                                                                                                  $214,965.25
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:     Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.
7.         Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit

8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1.   Cole Schotz P.C. - Retainer balance                                                                                             $14,447.16


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                       page 1
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Debtor            U.S. Auto Sales, Inc.                                                  Case number (If known) 23-11251
                  Name




           8.2.     BDO USA LLP - Retainer balance                                                                                    $7,510.00




9.         Total of Part 2.                                                                                                      $21,957.16
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:    Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

Part 4:           Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.

Part 5:           Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

Part 6:           Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.

Part 7:           Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.
           General description                                           Net book value of         Valuation method used   Current value of
                                                                         debtor's interest         for current value       debtor's interest
                                                                         (Where available)

39.        Office furniture

40.        Office fixtures

41.        Office equipment, including all computer equipment and
           communication systems equipment and software
           Equipment has not been inventoried since
           company seized operations; some equipment
           may be part of
           Hewatt settlement agreement; $9,524.99
           relates to capitalized software development
           (Underwriting portal)                                                 $69,710.65        Net Book Value                    $69,710.65




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                      page 2
                               Case 23-11251-TMH                    Doc 3        Filed 08/25/23         Page 9 of 62

Debtor       U.S. Auto Sales, Inc.                                                          Case number (If known) 23-11251
             Name

42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                             $69,710.65
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
           No
           Yes
45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
           No
           Yes
Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No. Go to Part 9.
    Yes Fill in the information below.
          General description                                            Net book value of          Valuation method used     Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value         debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.   2010 Hyundai VIIN AB4AH334                                         $1,179.37      Net Book Value                       $1,179.37


          47.2.   2000 Chevrolet Silverado 2500 VIN:
                  1GCFC29U6YE394346                                                  $2,607.79      Net Book Value                       $2,607.79



48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)

51.       Total of Part 8.                                                                                                            $3,787.16
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
           No
           Yes
53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
           No
           Yes
Part 9:     Real property
54. Does the debtor own or lease any real property?

    No. Go to Part 10.
    Yes Fill in the information below.


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                          page 3
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Debtor        U.S. Auto Sales, Inc.                                                        Case number (If known) 23-11251
              Name

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    No. Go to Part 11.
    Yes Fill in the information below.
           General description                                          Net book value of          Valuation method used     Current value of
                                                                        debtor's interest          for current value         debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites

62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations
           Customer Records in Dealer Management
           Systems (IDMS)                                                          Unknown                                              Unknown



64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                               $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
            No
            Yes
68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
            No
            Yes
69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
            No
            Yes
Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    No. Go to Part 12.
    Yes Fill in the information below.
                                                                                                                             Current value of
                                                                                                                             debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

           Federal net operating losses (NOLs)                                               Tax year 2012-2022                   $55,043,575.00


           Florida Sales Tax Refund for repossessed vehicles;
           refund request filed & being reviewed by the state                                Tax year 2019-2023                     $2,028,763.00


Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 4
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Debtor      U.S. Auto Sales, Inc.                                                   Case number (If known) 23-11251
            Name




73.      Interests in insurance policies or annuities

74.      Causes of action against third parties (whether or not a lawsuit
         has been filed)

75.      Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims

76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership

78.      Total of Part 11.                                                                                            $57,072,338.00
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
          No
          Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                             page 5
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Debtor          U.S. Auto Sales, Inc.                                                                               Case number (If known) 23-11251
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                          $214,965.25

81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $21,957.16

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                          $69,710.65

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                        $3,787.16

88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +            $57,072,338.00

91. Total. Add lines 80 through 90 for each column                                                       $57,382,758.22             + 91b.                       $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $57,382,758.22




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                         page 6
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Fill in this information to identify the case:

Debtor name          U.S. Auto Sales, Inc.

United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

Case number (if known)              23-11251
                                                                                                                                      Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1    Ally Financial Inc.                          Describe debtor's property that is subject to a lien              $6,838,133.55                         $0.00
       Creditor's Name                              Used Vehicles which have been repossessed
       1735 N Brown Rd                              by creditor
       Suite 500
       Lawrenceville, GA 30043
       Creditor's mailing address                   Describe the lien

                                                    Is the creditor an insider or related party?
       richard.taylor@ally.com                       No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
       10/15/2020                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       2127
       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
        No                                          Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative      Disputed
       priority.



2.2    MidCap Financial Trust                       Describe debtor's property that is subject to a lien            $19,290,347.87                          $0.00
       Creditor's Name                              All residual assets of the company
       7255 Woodmont Avenue
       Suite 300
       Bethesda, MD 20814
       Creditor's mailing address                   Describe the lien


       jgettmann@midcapfinancia                     Is the creditor an insider or related party?
       l.com                                         No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
       4/17/2019                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       2408
       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply



Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 2
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Debtor      U.S. Auto Sales, Inc.                                                              Case number (if known)         23-11251
            Name

       No                                        Contingent
       Yes. Specify each creditor,               Unliquidated
      including this creditor and its relative    Disputed
      priority.




                                                                                                                        $26,128,481.
3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                  42

Part 2:   List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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Fill in this information to identify the case:

Debtor name        U.S. Auto Sales, Inc.

United States Bankruptcy Court for the:         DISTRICT OF DELAWARE

Case number (if known)          23-11251
                                                                                                                                          Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.
      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                           $33,486.89         $33,486.89
          ALABAMA DEPARTMENT OF                               Check all that apply.
          REVENUE                                              Contingent
          P.O. Box 327680                                      Unliquidated
          Montgomery, AL 36132                                 Disputed
          Date or dates debt was incurred                     Basis for the claim:
          5/23/2023 and 6/7/2023                              Tax Liability
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                  No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes

2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                               $100.00        $100.00
          ALABAMA DEPARTMENT OF                               Check all that apply.
          REVENUE                                              Contingent
          P.O. Box 327680                                      Unliquidated
          Montgomery, AL 36132                                 Disputed
          Date or dates debt was incurred                     Basis for the claim:
                                                              Tax Liability
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                  No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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Debtor      U.S. Auto Sales, Inc.                                                                     Case number (if known)   23-11251
            Name

2.3       Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $791,309.70   $791,309.70
          Cigna Health and Life Insurance                    Check all that apply.
          Co.                                                 Contingent
          PO Box 644546                                       Unliquidated
          Pittsburgh, PA 15264                                Disputed
          Date or dates debt was incurred                    Basis for the claim:
                                                             Insurance
          Last 4 digits of account number                    Is the claim subject to offset?
          Specify Code subsection of PRIORITY                 No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                              Yes

2.4       Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $785,729.00   $785,729.00
          Cigna Healthcare                                   Check all that apply.
                                                              Contingent
                                                              Unliquidated
                                                              Disputed
          Date or dates debt was incurred                    Basis for the claim:
                                                             Employee Benefits
          Last 4 digits of account number                    Is the claim subject to offset?
          Specify Code subsection of PRIORITY                 No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                              Yes

2.5       Priority creditor's name and mailing address       As of the petition filing date, the claim is:                           $508.92   $0.00
          EYE MED FIDELITY SECURITY                          Check all that apply.
          LIFE                                                Contingent
          INSURANCE CO.                                       Unliquidated
          PO BOX 632530                                       Disputed
          Cincinnati, OH 45263-2530
          Date or dates debt was incurred                    Basis for the claim:
                                                             Insurance
          Last 4 digits of account number                    Is the claim subject to offset?
          Specify Code subsection of PRIORITY                 No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                              Yes

2.6       Priority creditor's name and mailing address       As of the petition filing date, the claim is:                        $20,354.59   $20,354.29
          FLORIDA DEPARTMENT OF                              Check all that apply.
          REVENUE                                             Contingent
          5050 W Tennessee Street                             Unliquidated
          Tallahassee, FL 32399-0135                          Disputed
          Date or dates debt was incurred                    Basis for the claim:
          5/22/2023-6/29/2023                                Tax Liability
          Last 4 digits of account number                    Is the claim subject to offset?
          Specify Code subsection of PRIORITY                 No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                              Yes




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Debtor      U.S. Auto Sales, Inc.                                                                     Case number (if known)   23-11251
            Name

2.7       Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         $1,000.00   $1,000.00
          North Carolina Department of                       Check all that apply.
          Revenue                                             Contingent
          P.O. Box 25000                                      Unliquidated
          Raleigh, NC 27640                                   Disputed
          Date or dates debt was incurred                    Basis for the claim:
                                                             Tax Liability
          Last 4 digits of account number                    Is the claim subject to offset?
          Specify Code subsection of PRIORITY                 No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                              Yes

2.8       Priority creditor's name and mailing address       As of the petition filing date, the claim is:                        $38,575.00   $0.00
          SOUTH CAROLINA DEPT. OF                            Check all that apply.
          MOTOR VEHICHLES                                     Contingent
          PO Box 1498                                         Unliquidated
          Blythewood, SC 29016                                Disputed
          Date or dates debt was incurred                    Basis for the claim:
          5/15/2023 - 6/16/2023                              Tax Liability
          Last 4 digits of account number                    Is the claim subject to offset?
          Specify Code subsection of PRIORITY                 No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                              Yes

2.9       Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $441,815.70   $441,815.70
          State of Florida                                   Check all that apply.
          General Tax Admin. – Atlanta                        Contingent
          Service Ctr                                         Unliquidated
          180 Interstate North Parkway SE                     Disputed
          Ste 450
          Atlanta, GA 33039
          Date or dates debt was incurred                    Basis for the claim:
                                                              Tax Liability
          Last 4 digits of account number                    Is the claim subject to offset?
          Specify Code subsection of PRIORITY                 No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                              Yes

2.10      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $495,769.07   $495,769.07
          Tennessee Department of Revenue                    Check all that apply.
          PO Box 190615                                       Contingent
          Nashville, TN 37219                                 Unliquidated
                                                              Disputed
          Date or dates debt was incurred                    Basis for the claim:
          6/30/2023 and 7/18/2023                            Tax Liability
          Last 4 digits of account number                    Is the claim subject to offset?
          Specify Code subsection of PRIORITY                 No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                              Yes




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Debtor        U.S. Auto Sales, Inc.                                                                      Case number (if known)          23-11251
              Name

2.11       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $0.00    $0.00
           USASF, LLC 401(k) Plan                               Check all that apply.
           c/o TAG Resources, LLC                                Contingent
           6501 Deane Hill Drive                                 Unliquidated
           Knoxville, TN 37919                                   Disputed
           Date or dates debt was incurred                      Basis for the claim:


           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                   No
           unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                 Yes


Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

3.1       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.              $20,938.59
          1Path Managed Services, LLC                                          Contingent
          170 Chastain Meadows Ct.                                             Unliquidated
          Kennesaw, GA 30144                                                   Disputed
          Date(s) debt was incurred 6/12/2023
                                                                              Basis for the claim: Trade Debt
          Last 4 digits of account number
                                                                              Is the claim subject to offset?    No  Yes
3.2       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                  $585.00
          AAAG Holdings Inc.                                                   Contingent
          4700 Groveport Rd                                                    Unliquidated
          Columbus, OH 43207                                                   Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim: Trade Debt
          Last 4 digits of account number
                                                                              Is the claim subject to offset?    No  Yes
3.3       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                    $43.75
          ABC Detailers & Lot Wash Services LLC                                Contingent
          13 Executive Circle                                                  Unliquidated
          Savannah, GA 31406                                                   Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim: Trade Debt
          Last 4 digits of account number
                                                                              Is the claim subject to offset?    No  Yes
3.4       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.              $25,524.54
          ACC Business                                                         Contingent
          P.O. Box 5077                                                        Unliquidated
          Carol Stream, IL 60197-5007                                          Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim: Trade Debt
          Last 4 digits of account number
                                                                              Is the claim subject to offset?    No  Yes
3.5       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.               $8,326.56
          ActivEngage                                                          Contingent
          2701 Maitland Center Parkway                                         Unliquidated
          Suite 300                                                            Disputed
          Maitland, FL 32751
                                                                              Basis for the claim: Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                     Is the claim subject to offset?    No  Yes




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Debtor      U.S. Auto Sales, Inc.                                                           Case number (if known)            23-11251
            Name

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,200.00
         Adam Breen                                                 Contingent
         931 Deer Spring Dr.                                        Unliquidated
         Jacksonville, FL 32221                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $565.00
         ADESA ATLANTA                                              Contingent
         5055 Oakley Industrial Blvd                                Unliquidated
         Fairburn, GA 30213                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $330.00
         ADESA BIRMINGHAM                                           Contingent
         804 Sollie Drive                                           Unliquidated
         PO Box 130                                                 Disputed
         Moody, AL 35004
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $60.00
         Adesa Lexington                                            Contingent
         672 Blue Sky Pkwy                                          Unliquidated
         Lexington, KY 40509                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $21,600.00
         Adesa Of Knoxville                                         Contingent
         1011 Adesa Parkway                                         Unliquidated
         Lenoir City, TN 37771                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $150.00
         ADESA Raleigh                                              Contingent
         30 Sadisco Rd                                              Unliquidated
         Clayton, NC 27520                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $12,630.00
         Adesa Sarasota                                             Contingent
         6005 24th Street East                                      Unliquidated
         Bradenton, FL 34203                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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Debtor      U.S. Auto Sales, Inc.                                                           Case number (if known)            23-11251
            Name

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $750.00
         Adesa Tampa                                                Contingent
         3225 N 50th Street                                         Unliquidated
         Tampa, FL 33619                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $14.00
         Adesa, Inc.                                                Contingent
         PO BOX 359                                                 Unliquidated
         Dimondale, MI 48821                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $195.72
         AIRGAS USA, LLC                                            Contingent
         PO Box 734672                                              Unliquidated
         Dallas, TX 75373-4672                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $781,693.00
         Allied Solutions LLC                                       Contingent
         350 Veterans Way Ste 200                                   Unliquidated
         Carmel, IN 46032                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $18,690.00
         America's Auto Auction Atlanta                             Contingent
         444 Joe Frank Harris Pkwy                                  Unliquidated
         Cartersville, GA 30120                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $360.00
         AMERICA'S AUTO AUCTION GREENVILLE                          Contingent
         2415 Hwy 101 South                                         Unliquidated
         Greer, SC 29651                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $8,078.16
         American Business Forms                                    Contingent
         8479 Solutions Center                                      Unliquidated
         Chicago, IL 60677-8004                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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Debtor      U.S. Auto Sales, Inc.                                                           Case number (if known)            23-11251
            Name

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $7,686.29
         Arrow Exterminators                                        Contingent
         8613 Roswell Rd                                            Unliquidated
         Bldg 4                                                     Disputed
         Atlanta, GA 30350
                                                                   Basis for the claim: Utility Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $40.52
         ATHENS-CLARKE CO WATER BUSINESS                            Contingent
         OFFICE                                                     Unliquidated
         PO BOX 16869                                               Disputed
         Atlanta, GA 30321-0869
                                                                   Basis for the claim: Utility Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $148.10
         Atmos Energy Corporation                                   Contingent
         PO Box 740353                                              Unliquidated
         Cincinnati, OH 45274-0353                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $229,641.30
         ATSG, Inc. (Allied Solutions LLC)                          Contingent
         6111 W Plano Parkway Suite 2500                            Unliquidated
         Plano, TX 75093                                            Disputed
         Date(s) debt was incurred 5/3/2023 and 5/26/2023
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $289,646.60
         ATSG, Inc. (dinCloud)                                      Contingent
         507 North State Road                                       Unliquidated
         Briarcliff Manor, NY 10510                                 Disputed
         Date(s) debt was
                                                                   Basis for the claim: Trade Debt
         incurred 5/11/2023 and 6/12/2023
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $103.00
         AuctionAccess, LLC                                         Contingent
         2200 Woodcrest Place Suite 200                             Unliquidated
         Birmingham, AL 35209                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $1,714,162.98
         AutoZone Stores LLC                                        Contingent
         P.O. Box 10                                                Unliquidated
         Atlanta, GA 30368                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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Debtor      U.S. Auto Sales, Inc.                                                           Case number (if known)            23-11251
            Name

3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $2,049.00
         BacklotCars, Inc.                                          Contingent
         1100 Main St                                               Unliquidated
         Suite 1500                                                 Disputed
         Kansas City, MO 64105
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $254.74
         Balloon Promotions                                         Contingent
         200 Fairfield Rd, Suite 21                                 Unliquidated
         Fairfield, NJ 07004                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $100.00
         Black Book                                                 Contingent
         P.O. Box 404040                                            Unliquidated
         Atlanta, GA 30384-4040                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $6,530.00
         BLACKFIN SQUARE                                            Contingent
         2300 Holcomb Bridge Rd                                     Unliquidated
         Suite 103-134                                              Disputed
         Roswell, GA 30076
                                                                   Basis for the claim: Professional services
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $991.23
         Bodyline Motor                                             Contingent
         775 Jersey Rd                                              Unliquidated
         Winter Haven, FL 33881                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Other
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $450.00
         Brian Christopher Lyons                                    Contingent
         500 Angus Blvd                                             Unliquidated
         Byron, GA 31008                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $398.89
         Bright House Networks                                      Contingent
         PO Box 7195                                                Unliquidated
         Pasadena, CA 91109                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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Debtor      U.S. Auto Sales, Inc.                                                           Case number (if known)            23-11251
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3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $735.23
         BrightRidge                                                Contingent
         2600 Boones Creek Rd                                       Unliquidated
         Johnson City, TN 37615                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $57,590.00
         Caliber Electric LLC                                       Contingent
         25 Hawk Ridge                                              Unliquidated
         Jasper, GA 30143                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $450.00
         Camden Landscaping Group, Inc.                             Contingent
         PO BOX 38044                                               Unliquidated
         Greensboro, NC 27438-8044                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $810.00
         Cardinal Landscaping, Inc.                                 Contingent
         PO Box 26210                                               Unliquidated
         Fayetteville, NC 28314                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $71.00
         CATOOSA COUNTY TAX COMMISSIONER                            Contingent
         796 LAFAYETTE STREET                                       Unliquidated
         Ringgold, GA 30736                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $12,400.00
         Cavalaris Realty Company                                   Contingent
         c/o John H. Capitano, Esq.                                 Unliquidated
         Kirk Palmer & Thigpen, P.A.                                Disputed
         1300 Baxter Street, Suite 300
         Charlotte, NC 28204                                       Basis for the claim: Lease Payment for real property located at 7701
                                                                   South Boulevard, Charlotte, NC 28273
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $46,188.58
         Ceridian HCM Inc                                           Contingent
         3311 East Old Shakopee Rd                                  Unliquidated
         Minneapolis, MN 55425                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $71.90
         CHARLESTON WATER SYSTEM UTILITY                            Contingent
         BILL                                                       Unliquidated
         PO Box 568                                                 Disputed
         Charleston, SC 29402-0568
                                                                   Basis for the claim: Utility Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $304.60
         Chattanooga Gas                                            Contingent
         PO Box 5408                                                Unliquidated
         Carol Stream, IL 60197-5408                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $2,300.00
         Christopher Mustain                                        Contingent
         8702 Miles Johnson Rd                                      Unliquidated
         Tallahassee, FL 32308                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $5,863.14
         CINTAS CORPORATION                                         Contingent
         PO Box 630910                                              Unliquidated
         Cincinnati, OH 45263-0910                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $46.60
         CITY OF ATLANTA (Watershed                                 Contingent
         Management)                                                Unliquidated
         PO BOX 105275                                              Disputed
         Atlanta, GA 30348
                                                                   Basis for the claim: Utility Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $1,301.31
         CITY OF CHARLOTTE UTILITY                                  Contingent
         P.O.Box 1316                                               Unliquidated
         Charlotte, NC 28201-1316                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $362.29
         City of Chattanooga                                        Contingent
         PO Box 591                                                 Unliquidated
         Chattanooga, TN 37401                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $254.79
         City of Clearwater                                         Contingent
         PO Box 30020                                               Unliquidated
         Tampa, FL 33630                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $1,118.43
         City of Covington                                          Contingent
         PO Box 1527                                                Unliquidated
         Covington, GA 30015                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $145.46
         CITY OF FLORENCE                                           Contingent
         PO Box 63010                                               Unliquidated
         Charlotte, NC 28263                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $662.00
         City of Greensboro North Carolina                          Contingent
         PO Box 1170                                                Unliquidated
         Greensboro, NC 27402                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $3,261.65
         CITY OF LAWRENCEVILLE UTILITY BILL                         Contingent
         PO Box 2200                                                Unliquidated
         Lawrenceville, GA 30046                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $3,841.19
         City of Ocala                                              Contingent
         201 SE 3rd St                                              Unliquidated
         Ocala, FL 34471-2174                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $2,336.73
         City of Tallahassee                                        Contingent
         435 N Macomb St Relay Box                                  Unliquidated
         Tallahassee, FL 32301                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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Debtor      U.S. Auto Sales, Inc.                                                           Case number (if known)            23-11251
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3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $819.51
         City of Tampa Utilities                                    Contingent
         PO Box 30191                                               Unliquidated
         Tampa, FL 33630                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $337.39
         CLAYTON COUNTY WATER AUTHORITY                             Contingent
         PO BOX 117195                                              Unliquidated
         Atlanta, GA 30268-7195                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         COLLETTRE PROPERTY MANAGEMENT                              Contingent
         1111 Metropolitan Ave, Ste 700                             Unliquidated
         Charlotte, NC 28204                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Rent
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $226.04
         COLUMBIA COUNTY WATER UTILITY BILL                         Contingent
         PO Box 960                                                 Unliquidated
         Grovetown, GA 30813                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $138.80
         Columbia Fire & Safety, Inc.                               Contingent
         700 Meeting Street                                         Unliquidated
         West Columbia, SC 29169                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $30.99
         COLUMBUS WATER WORKS UTILITY BILL                          Contingent
         1421 Veterans Pkwy                                         Unliquidated
         PO Box 1600                                                Disputed
         Columbus, GA 31902-1600
                                                                   Basis for the claim: Utility Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $5,342.08
         Comcast                                                    Contingent
         PO Box 71211                                               Unliquidated
         Charlotte, NC 28272-1211                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $5,491.00
         Courtesy Emissions                                         Contingent
         3154 Lawrenceville-Suwanee Rd                              Unliquidated
         Suite 104                                                  Disputed
         Suwanee, GA 30024
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $190.66
         COX BUSINESS                                               Contingent
         PO Box 919367                                              Unliquidated
         Dallas, TX 75391-9367                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $7,897.00
         COX RADIO, INC.                                            Contingent
         223 Perimeter Center Pkwy NE                               Unliquidated
         Atlanta, GA 30346                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $89.14
         Crystal Springs                                            Contingent
         PO Box 665079                                              Unliquidated
         Dallas, TX 75266-0579                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $157,068.38
         CVS Pharmacy, Inc. dba Caremark, L.L.C.                    Contingent
         One CVS Drive                                              Unliquidated
         Woonsocket, RI 02895                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Insurance
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.67     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $1,600.00
         Daryl E. Lewis Jr.                                         Contingent
         905 Coolwood Pl                                            Unliquidated
         Brandon, FL 33511                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.68     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $10,247,835.54
         Dealer Owned Warranty Company                              Contingent
         14 Countryside Lane                                        Unliquidated
         Ringwood, NJ 07456                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.69     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $215.00
         Dealers Aa Of East Tennessee                               Contingent
         207 Princeton Rd                                           Unliquidated
         Johnson City, TN 37601                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.70     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $33,450.00
         Dealers Auto Auction Of Jackson                            Contingent
         1657 Old Whitfield Rd                                      Unliquidated
         Pearl, MS 39208                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.71     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $21,555.00
         Dealers Auto Auction of Murfreesboro, LL                   Contingent
         5000 Meridian Blvd                                         Unliquidated
         Suite 700                                                  Disputed
         Franklin, TN 37067
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.72     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $101,931.55
         DEALERSOCKET DEALER SOCKET                                 Contingent
         PO Box 843876                                              Unliquidated
         Los Angeles, CA 90084-3876                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.73     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $480,093.99
         Decision Dynamics, Inc.                                    Contingent
         PO Box 2078                                                Unliquidated
         Lexington, SC 29071                                        Disputed
         Date(s) debt was incurred 5/1/2023-5/24/2023
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.74     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $200.00
         DEDRICK LAMON PULCE                                        Contingent
         2304 Bottega Lane                                          Unliquidated
         Apt 303                                                    Disputed
         Brandon, FL 33511
                                                                   Basis for the claim: Other
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.75     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $317.00
         DEKALB COUNTY WATER & SEWER                                Contingent
         PO Box 71224                                               Unliquidated
         Charlotte, NC 28272-1224                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.76     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $299.00
         Delaertrack Inc                                            Contingent
         PO Box 101674                                              Unliquidated
         Pasadena, CA 91189-1674                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.77     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $23.10
         DEMARCUS CAMPBELL                                          Contingent
         7092 SHORE ROAD                                            Unliquidated
         Lithonia, GA 30058                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Other
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.78     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $2,110,878.39
         Dent Wizard International Corp                             Contingent
         4710 Earth City Expressway                                 Unliquidated
         Bridgeton, MO 63044                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.79     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $235.00
         DEPENDABLE WINDOW CLEANING                                 Contingent
         1165 Easy St                                               Unliquidated
         Suwanee, GA 30024                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.80     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $520.00
         DIXIE LAWN & LANDSCAPING INC.                              Contingent
         3810 Roddy Hwy                                             Unliquidated
         Cochran, GA 31014                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.81     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $1,537,074.81
         Diz. LLC                                                   Contingent
         1301 N Slappey Blvd suite A                                Unliquidated
         Albany, GA 31701                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.82     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $4,023.96
         Dominion Energy                                            Contingent
         PO Box 100255                                              Unliquidated
         Columbia, SC 29202-3255                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.83     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,750.00
         DTA CONSTRUCTION SERVICES, INC.                            Contingent
         55 E Davis Bridge Rd                                       Unliquidated
         Villa Rica, GA 30180                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.84     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $5,482.62
         DUKE ENERGY                                                Contingent
         PO Box 1094                                                Unliquidated
         Charlotte, NC 28201                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.85     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,990.15
         Duke Energy                                                Contingent
         PO Box 1003                                                Unliquidated
         Charlotte, NC 28201                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.86     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $823.59
         Duke Energy                                                Contingent
         PO Box 1004                                                Unliquidated
         Charlotte, NC 28201-1004                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.87     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $30,010.71
         Dunlap & Kyle Tire Co. Inc                                 Contingent
         DBA Gateway Tire                                           Unliquidated
         530 Myatt Drive                                            Disputed
         Madison, TN 37115
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.88     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,804.00
         Ecotrak, LLC                                               Contingent
         18004 Sky Park Circle, #100                                Unliquidated
         Irvine, CA 92614                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.89     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $780.00
         Edward Salas dba Florida Fleet Wash, Inc                   Contingent
         8007 1/2 Newport Ave                                       Unliquidated
         Tampa, FL 33604                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.90     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $3,601.78
         Effectual Enterprises                                      Contingent
         DBA AAMCO TRANSMISSIONS                                    Unliquidated
         100 Rainbow Way                                            Disputed
         Fayetteville, GA 30214
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.91     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $80,005.58
         El Dorado Acquisitions, LLC                                Contingent
         2100 Atlanta Hwy                                           Unliquidated
         Building A                                                 Disputed
         Gainesville, GA 30504
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.92     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $799.46
         EPB                                                        Contingent
         Attn: Remittance Processing                                Unliquidated
         PO Box 182254                                              Disputed
         Chattanooga, TN 37422
                                                                   Basis for the claim: Utility Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.93     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $160.00
         EPB Fiber Optics                                           Contingent
         PO Box 182251                                              Unliquidated
         Chattanooga, TN 37422                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.94     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $900.00
         Evo Door and Window LLC                                    Contingent
         6250 Military Trail, Suite 204                             Unliquidated
         West Palm Beach, FL 33407                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.95     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $104.96
         Fayetteville Public Works Commission                       Contingent
         PO Box 7000                                                Unliquidated
         Fayetteville, NC 28302                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.96     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $272,582.37
         FEDERATED INSURANCE                                        Contingent
         121 East Park Square                                       Unliquidated
         Owatonna, MN 55060                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Insurance
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.97     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $89.00
         FISH WINDOW CLEANING                                       Contingent
         1711 DEAN FOREST ROAD, SUITE G                             Unliquidated
         Savannah, GA 31408-9561                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.98     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $160.00
         Florida Auto Auction Properties LLC                        Contingent
         2800 N US 17 92                                            Unliquidated
         Longwood, FL 32750                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.99     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,475.00
         FORMETCO                                                   Contingent
         Lockbox/Department #999075                                 Unliquidated
         PO Box 530074                                              Disputed
         Atlanta, GA 30353-0074
                                                                   Basis for the claim: Utility Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.100    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $63,862.53
         FUZE, INC. FKA THINKING PHONE                              Contingent
         NETWORKS,                                                  Unliquidated
         PO Box 347284                                              Disputed
         Pittsburgh, PA 15251-4284
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.101    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,794.80
         Gainesville Regional Utilities                             Contingent
         PO BOX 147051                                              Unliquidated
         Station A117                                               Disputed
         Gainesville, FL 32614
                                                                   Basis for the claim: Utility Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.102    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $119.90
         Gallagher Promotional Products                             Contingent
         655 Florida Central Parkway                                Unliquidated
         Longwood, FL 32750                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.103    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $86,318.48
         GEORGIA POWER COMPANY                                      Contingent
         96 Annex                                                   Unliquidated
         Atlanta, GA 30396                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.104    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $4,370.00
         GEORGIA SECURITY SYSTEMS, INC.                             Contingent
         73 Lawrenceville Street                                    Unliquidated
         McDonough, GA 30253                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.105    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $15,375.00
         Georgia-Carolina Auto Auction                              Contingent
         884 East Ridgeway Road                                     Unliquidated
         Commerce, GA 30529                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.106    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $344.10
         GFL Environment                                            Contingent
         PO BOX 4524                                                Unliquidated
         Houston, TX 77210-4524                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.107    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $670.43
         Gfl Environmental                                          Contingent
         (Formally Waste Industries)                                Unliquidated
         PO BOX 791519                                              Disputed
         Baltimore, MD 21279-1519
                                                                   Basis for the claim: Utility Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.108    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $42,334.67
         GORDON HOWARD ASSOCIATES DBA
         PASSTIME                                                   Contingent
         Lockbox 446082                                             Unliquidated
         PO Box 64013                                               Disputed
         Saint Paul, MN 55164-0013
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred 5/5/2023
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.109    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $1,389.48
         GRANITE TELECOMMUNICATIONS                                 Contingent
         PO Box 983119                                              Unliquidated
         Boston, MA 02298-3119                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.110    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $250,744.06
         Grant Thornton LLP                                         Contingent
         33562 Treasury Center                                      Unliquidated
         Chicago, IL 60694-3500                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Professional services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.111    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $320.00
         Grazz Masters LLC                                          Contingent
         2900 Kirby Road                                            Unliquidated
         Suite 7                                                    Disputed
         Memphis, TN 38119
                                                                   Basis for the claim: Utility Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.112    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $79,367.89
         GREAT AMERICA FINANCIAL SERVICES                           Contingent
         CORP                                                       Unliquidated
         PO BOX 660831                                              Disputed
         Dallas, TX 75266-0831
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.113    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $451.20
         GREENVILLE WATER UTILITY                                   Contingent
         PO Box 687                                                 Unliquidated
         Greenville, SC 29602-0687                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.114    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,686.17
         GWINNETT COUNTY DEPT OF WATER                              Contingent
         RESOURCES                                                  Unliquidated
         PO Box 71225                                               Disputed
         Charlotte, NC 28272-1225
                                                                   Basis for the claim: Utility Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.115    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,770.00
         Herbie's Quality Landscaping                               Contingent
         159 Willowood Dr                                           Unliquidated
         Spartanburg, SC 29303                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.116    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $7,895.60
         Hireright GIS Intermediate Corp., Inc.                     Contingent
         PO Box 847891                                              Unliquidated
         Dallas, TX 75284-7891                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Professional services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.117    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $33,735.52
         HOMENET - DE Inc.                                          Contingent
         PO BOX 935242                                              Unliquidated
         Atlanta, GA 31193-5242                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.118    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $2,005.25
         Horizon Electronics Loss Prevention, Inc                   Contingent
         7925 Evies Way                                             Unliquidated
         Port Richey, FL 34668                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.119    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $839.95
         Huntsville Utilities (Bill)                                Contingent
         112 Spragins St NW                                         Unliquidated
         Huntsville, AL 35895                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.120    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $109,105.91
         IHEART MEDIA                                               Contingent
         PO Box 406372                                              Unliquidated
         Atlanta, GA 30384-6372                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.121    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $3,771.91
         INMAN S FRYE                                               Contingent
         67 A Born Street                                           Unliquidated
         Lawrenceville, GA 30046                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.122    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $200.00
         Intralinks, Inc                                            Contingent
         PO Box 392134                                              Unliquidated
         Pittsburgh, PA 15251                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.123    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $381.25
         J.R. Fallaw Mechanical Services LLC                        Contingent
         PO Box 337                                                 Unliquidated
         Gilbert, SC 29054                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.124    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $110.00
         JACK M KITE CO, INC.                                       Contingent
         261 South Acres Dr                                         Unliquidated
         Bristol, TN 37620                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.125    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $15,370.10
         JACKSON EMC UTILITY BILL                                   Contingent
         PO Box 166023                                              Unliquidated
         Altamonte Springs, FL 32716-6023                           Disputed
         Date(s) debt was incurred 5/16/2023 - 7/25/2023
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.126    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $4,692.00
         JACKSON EMC UTILITY BILL                                   Contingent
         PO Box 100                                                 Unliquidated
         Jefferson, GA 30549-0100                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.127    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $14,032.67
         Jackson Lewis P.C.                                         Contingent
         P.O. Box 416019                                            Unliquidated
         Boston, MA 02241-6019                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Professional services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.128    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $150.00
         Jacksonville Sheriff's Office False                        Contingent
         Alarm Reduction Program                                    Unliquidated
         P.O. Box 141925                                            Disputed
         Irving, TX 75014
                                                                   Basis for the claim: Utility Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.129    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $590.00
         JANI-KING OF                                               Contingent
         GREENVILLE/SPARTANBURG                                     Unliquidated
         498A Garlington Rd                                         Disputed
         Greenville, SC 29615
                                                                   Basis for the claim: Utility Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.130    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $700.00
         JANI-KING OF SAVANNAH                                      Contingent
         3665 Wheeler Rd                                            Unliquidated
         Suite 1A                                                   Disputed
         Augusta, GA 30909
                                                                   Basis for the claim: Utility Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.131    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,563.87
         JEA UTILITY BILLS                                          Contingent
         PO Box 45047                                               Unliquidated
         Jacksonville, FL 32232-5047                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.132    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $160.62
         JJ's Waste & Recycling LLC                                 Contingent
         3905 El Rey Rd                                             Unliquidated
         Orlando, FL 32808                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.133    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $126.00
         Juan Manzanares                                            Contingent
         PO BOX 2721                                                Unliquidated
         Decatur, AL 35602                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.134    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $22,387.05
         KIA MOTOR FINANCE                                          Contingent
         BOX 650805                                                 Unliquidated
         1501 NORTH PLANO RD                                        Disputed
         Richardson, TX 75081
                                                                   Basis for the claim: Other
         Date(s) debt was incurred 5/25/2023
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.135    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $100.00
         KIHLA JADE HOLLOWAY                                        Contingent
         8570 IRIS AVENUE N                                         Unliquidated
         Seminole, FL 33777                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Other
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.136    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $175.00
         Krystal Graves                                             Contingent
         10 Peggy Sue Court                                         Unliquidated
         Greensboro, NC 27407                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Other
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.137    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,698.00
         KUB                                                        Contingent
         PO Box 59029                                               Unliquidated
         Knoxville, TN 37950                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.138    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $15,814.00
         Lawrence Glass Co Inc.                                     Contingent
         2450 Rideout Ln                                            Unliquidated
         Murfreesboro, TN 37128                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.139    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $175.00
         Letitia Murphy                                             Contingent
         126 Acme Street                                            Unliquidated
         Jacksonville, FL 32211                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Other
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.140    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $687.71
         LEXISNEXIS RELX INC.                                       Contingent
         PO Box 733106                                              Unliquidated
         Dallas, TX 75373-3106                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.141    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $41,314.44
         Life Insurance Company of North America                    Contingent
         401 Market St                                              Unliquidated
         Lockbox 2447                                               Disputed
         Philadelphia, PA 19106
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred 6/12/2023
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.142    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $50,000.00
         Lightico Inc                                               Contingent
         140 Broadway Ave                                           Unliquidated
         Floor 46                                                   Disputed
         New York, NY 10005
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.143    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,350.00
         Lockton Companies                                          Contingent
         3280 Peachtree Road NE                                     Unliquidated
         Suite 250                                                  Disputed
         Atlanta, GA 30305
                                                                   Basis for the claim: Insurance
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.144    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $5,030.00
         Longleaf Realty Trust, Llc                                 Contingent
         PO Box 110                                                 Unliquidated
         Madison, GA 30650                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Rent
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.145    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $880.00
         LTR Inermediate Holdings, Inc.                             Contingent
         dba Liberty Tire Recycling, LLC                            Unliquidated
         PO Box 645375                                              Disputed
         Pittsburgh, PA 15264-5375
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




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3.146    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $61,761.98
         M&A Ventures LLC                                           Contingent
         3 West Paces Ferry Rd NW, Suite 200                        Unliquidated
         Atlanta, GA 30305                                          Disputed
         Date(s) debt was incurred 5/4/2023
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.147    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $693.34
         MACON WATER AUTHORITY UTILITY BILL                         Contingent
         PO BOX 108                                                 Unliquidated
         Macon, GA 31202-0108                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.148    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $396.00
         Managemowed                                                Contingent
         3200 Selwyn Ave                                            Unliquidated
         Charlotte, NC 28209                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.149    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $76,238.95
         Manhattan Telecommunications Corporation                   Contingent
         PO Box 9660                                                Unliquidated
         Manchester, NH 03108-9660                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.150    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $7,189.27
         MARIETTA POWER WATER UTILITY BILL                          Contingent
         PO Box 609                                                 Unliquidated
         Marietta, GA 30061-0609                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.151    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $143.96
         Marpan Supply Company, Inc.                                Contingent
         PO Box 2068                                                Unliquidated
         Tallahassee, FL 32316                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.152    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $429.80
         MCC Telephony of Georgia LLC                               Contingent
         PO Box 71222                                               Unliquidated
         Charlotte, NC 28272-1222                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.153    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,361.00
         Memphis Light Gas and Water Division                       Contingent
         PO Box 388                                                 Unliquidated
         Memphis, TN 38145-0388                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.154    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $876.00
         MenuSys                                                    Contingent
         PO Box 2215                                                Unliquidated
         Eau Claire, WI 54702                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.155    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $424.40
         Meridian Waste                                             Contingent
         PO Box 580231                                              Unliquidated
         Charlotte, NC 28258-0231                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.156    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $98,668.57
         Meta Platforms, Inc.                                       Contingent
         1601 Willow Rd                                             Unliquidated
         Menlo Park, CA 94025                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.157    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $496.00
         Metro Mechanical Services, Inc.                            Contingent
         851 North Pine Hill Road                                   Unliquidated
         Birmingham, AL 35217                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.158    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,171.11
         Metro Water Services                                       Contingent
         PO Box 305225                                              Unliquidated
         Nashville, TN 37230-5225                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.159    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $7,775.50
         Mitchell Mechanical Heating &                              Contingent
         Air Cond Inc.                                              Unliquidated
         1398 Duncan Lane                                           Disputed
         Auburn, GA 30011
                                                                   Basis for the claim: Utility Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




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3.160    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $3,041.46
         Mitchell Repair Information Company, LLC                   Contingent
         25029 Network Place                                        Unliquidated
         Chicago, IL 60673-1250                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.161    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $6,938.48
         Nashville Electric Company                                 Contingent
         PO Box 305099                                              Unliquidated
         Nashville, TN 37230-5099                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.162    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $31,376.50
         OATA Clerking                                              Contingent
         8421 S. John Young Pkwy., Suite 150                        Unliquidated
         Orlando, FL 32819                                          Disputed
         Date(s) debt was incurred 5/9/2023 - 5/26/2023
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.163    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $174.00
         OCCUPATIONAL HEALTH CENTERS OF GA,                         Contingent
         PC                                                         Unliquidated
         P.O. Box 82730                                             Disputed
         Hapeville, GA 30354-0730
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.164    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $147,028.09
         ONEPATH                                                    Contingent
         170 Chastain Meadows Ct.                                   Unliquidated
         Kennesaw, GA 30144                                         Disputed
         Date(s) debt was incurred 6/12/2023
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.165    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $85.75
         Orange Auto Tag Agency                                     Contingent
         8421 S John Young Pkwy, Suite 150                          Unliquidated
         Orlando, FL 32819                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.166    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $2,174.47
         Orlando Utilities Commission                               Contingent
         PO Box 31329                                               Unliquidated
         Tampa, FL 33631-3329                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.167    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $400.00
         OSEAS . SANTIAGO JR.                                       Contingent
         526 EMERALD ROAD                                           Unliquidated
         Ocala, FL 34472                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Other
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.168    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $3,353.64
         Otis Elevator Company                                      Contingent
         PO Box 730400                                              Unliquidated
         Dallas, TX 75373-0400                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.169    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $357.00
         Palmer Hall dba Urban Detailing LLC                        Contingent
         2331 NE 17th Pl                                            Unliquidated
         Unit 101                                                   Disputed
         Ocala, FL 34470
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.170    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $3,325.00
         Peach State Roofing                                        Contingent
         1655-A Spectrum Drive                                      Unliquidated
         Lawrenceville, GA 30043                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.171    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $2,775.28
         Pep Boys                                                   Contingent
         P.O. Box 8500-50445                                        Unliquidated
         Philadelphia, PA 19178-0445                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.172    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $350.00
         Percival Lane                                              Contingent
         4904 Holmes Ave                                            Unliquidated
         Columbia, SC 29203                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.173    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $3,885.16
         Piedmont Natural Gas                                       Contingent
         PO Box 1246                                                Unliquidated
         Charlotte, NC 28201                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.174    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $28,480.00
         PODIUM CORPORATION, INC.                                   Contingent
         SUBSCRIPTION                                               Unliquidated
         PO Box 880321                                              Disputed
         Phoenix, AZ 85038-9650
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.175    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,548.15
         Pugh Lubricants, LLC                                       Contingent
         dba Cadence Petroleum Group                                Unliquidated
         PO Box 601872                                              Disputed
         Charlotte, NC 28260
                                                                   Basis for the claim: Utility Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.176    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,466.00
         Purchase Power                                             Contingent
         PO BOX 981026                                              Unliquidated
         Boston, MA 02298-1026                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.177    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $561.00
         Purple Communications, Inc.                                Contingent
         13620 N FM 620, Bldg C, Ste 100                            Unliquidated
         Austin, TX 78717                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.178    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $233.63
         Reliable Solutions, LLC                                    Contingent
         dba Rivergate Muffler & Auto Repair                        Unliquidated
         159 Gleaves St                                             Disputed
         Madison, TN 37115
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.179    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $13,579.42
         REPUBLIC SERVICES                                          Contingent
         PO Box 9001099                                             Unliquidated
         Louisville, KY 40290-1099                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.180    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,970.00
         Robert L. Gilstrap                                         Contingent
         PO Box 48614                                               Unliquidated
         Tampa, FL 33646                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.181    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $11,700.00
         Rogelio C. Salazar                                         Contingent
         3925 Waldrip Dr                                            Unliquidated
         Gainesville, GA 30504                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.182    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $100.00
         RONNIE RONNAZES NELSON                                     Contingent
         515 Hanover Drive                                          Unliquidated
         Waycross, GA 31501                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Other
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.183    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $25,592.85
         RSM Maintenance LLC                                        Contingent
         461 From Rd                                                Unliquidated
         Paramus, NJ 07652                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.184    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $119,515.95
         RSM US, LLP                                                Contingent
         5155 Paysphere Circle                                      Unliquidated
         Chicago, IL 60674-0051                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Professional services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.185    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $9,541.74
         SCANA ENERGY UTILITY BILL                                  Contingent
         PO Box 100157                                              Unliquidated
         Columbia, SC 29202-3157                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.186    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $500.00
         SEASIDE ELITE GROUP LLC                                    Contingent
         2220 COUNTY ROAD 210 W #108 230                            Unliquidated
         Saint Johns, FL 32259                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Other
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.187    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $10,096.27
         Select Door Service LLC                                    Contingent
         1040 Commerce CT                                           Unliquidated
         Suite 3                                                    Disputed
         Bogart, GA 30622
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




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3.188    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $10,815.21
         Sheer Service, LLC                                         Contingent
         6250 N. MILITARY TL.                                       Unliquidated
         SUITE 204 WEST                                             Disputed
         West Palm Beach, FL 33407
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.189    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $136.00
         SHELBY COUNTY CLERK                                        Contingent
         150 Washington Avenue                                      Unliquidated
         Memphis, TN 38103                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.190    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,184.00
         Smith Driven Enterprises & Services Inc.                   Contingent
         3961 Mooty Bridge Rd                                       Unliquidated
         Lagrange, GA 30240                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.191    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $15,680.97
         SNAP TIRE, INC.                                            Contingent
         1145 Battlecreek Rd.                                       Unliquidated
         Jonesboro, GA 30236                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.192    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $5,000.00
         SOUTH CAROLINA DEPARTMENT OF
         REVENUE                                                    Contingent
         (CORP TAX)                                                 Unliquidated
         PO Box 2535                                                Disputed
         Columbia, SC 29202-2535
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.193    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,532.49
         Southeast Sales & Service LLC                              Contingent
         112 Midtown Ct                                             Unliquidated
         Suite 303                                                  Disputed
         Hendersonville, TN 37075
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.194    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $16,946.30
         SOUTHEAST TOYOTA FINANCE                                   Contingent
         PO BOX 8500                                                Unliquidated
         Philadelphia, PA 19178                                     Disputed
         Date(s) debt was incurred 5/25/2023
                                                                   Basis for the claim: Other
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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Debtor      U.S. Auto Sales, Inc.                                                           Case number (if known)            23-11251
            Name

3.195    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $81.40
         Spartanburg Water                                          Contingent
         PO Box 251                                                 Unliquidated
         Spartanburg, SC 29304-0251                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.196    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,434.55
         Spectrum Business                                          Contingent
         PO Box 94188                                               Unliquidated
         Palatine, IL 60094-4188                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.197    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,028.78
         Spectrum Business                                          Contingent
         PO Box 4617                                                Unliquidated
         Carol Stream, IL 60197                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.198    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $79.00
         Squeegee Pros, Inc.                                        Contingent
         PO Box 5384                                                Unliquidated
         Mooresville, NC 28117                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.199    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $19,330.10
         STAPLES Inc.                                               Contingent
         PO Box 405386                                              Unliquidated
         Atlanta, GA 30384                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.200    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $270.00
         State of Tennessee                                         Contingent
         220 French Landing Drive                                   Unliquidated
         2nd Floor                                                  Disputed
         Nashville, TN 37243
                                                                   Basis for the claim: Utility Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.201    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Sugarloaf LLC                                              Contingent
         3080 Windward Plaza, Ste F320                              Unliquidated
         Alpharetta, GA 30005                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Rent
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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Debtor      U.S. Auto Sales, Inc.                                                           Case number (if known)            23-11251
            Name

3.202    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $180,150.00
         SURE-TRAC, LLC                                             Contingent
         2450 Atlanta Hwy, #203                                     Unliquidated
         Cumming, GA 30040                                          Disputed
         Date(s) debt was incurred 5/5/2023
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.203    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $80,781.05
         TAG Resources, LLC                                         Contingent
         6501 Deane Hill Dr                                         Unliquidated
         Knoxville, TN 37919                                        Disputed
         Date(s) debt was incurred 4/26/2023
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.204    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $486.59
         TECO - Tampa Electric                                      Contingent
         PO Box 31318                                               Unliquidated
         Tampa, FL 33631                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.205    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $14.00
         Teen Challenge of Florida, Inc.                            Contingent
         d/b/a Challenge Car Care - Chamois                         Unliquidated
         4141 Apalachee Parkway                                     Disputed
         Tallahassee, FL 32311
                                                                   Basis for the claim: Utility Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.206    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $17,718.65
         TEK MATERIAL & SUPPLY                                      Contingent
         1000 Hurricane Shoals Rd NE                                Unliquidated
         BLDG C290                                                  Disputed
         Lawrenceville, GA 30043
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.207    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $279.16
         Tennessee American Water                                   Contingent
         PO Box 6029                                                Unliquidated
         Carol Stream, IL 60197                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.208    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $294.39
         The Madison Suburban Utility District                      Contingent
         PO Box 306140                                              Unliquidated
         Nashville, TN 37230-6140                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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Debtor      U.S. Auto Sales, Inc.                                                           Case number (if known)            23-11251
            Name

3.209    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $7,849.82
         THE MIGHTY MUFFLER INC.                                    Contingent
         687 E Crogan St                                            Unliquidated
         Lawrenceville, GA 30046                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.210    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $87,192.71
         The Reynolds & Reynolds Company                            Contingent
         PO Box 182206                                              Unliquidated
         Columbus, OH 43218-2206                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.211    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $42,454.49
         THG Management Solutions LLC                               Contingent
         2095 Hwy 211 NW                                            Unliquidated
         Suite 2-F # 126                                            Disputed
         Braselton, GA 30517
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.212    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $2,050.00
         Timothy Edward Stone dba Rustic Ridge                      Contingent
         Landscaping                                                Unliquidated
         255 S Perkins Bridge Rd                                    Disputed
         Johnson City, TN 37615
                                                                   Basis for the claim: Utility Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.213    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $200.00
         Tony Osterman                                              Contingent
         129 Bromwich Dr                                            Unliquidated
         Goose Creek, SC 29445                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.214    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $110,744.81
         Troy Allred                                                Contingent
         5614 Hwy 138 SW                                            Unliquidated
         Oxford, GA 30054                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.215    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $541.32
         TWC Services, Inc.                                         Contingent
         PO Box 1612                                                Unliquidated
         Des Moines, IA 50306                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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Debtor      U.S. Auto Sales, Inc.                                                           Case number (if known)            23-11251
            Name

3.216    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,435.00
         VAUTO INC.                                                 Contingent
         PO Box 935202                                              Unliquidated
         Atlanta, GA 31193-5202                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.217    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $29,546.02
         Vena Solutions                                             Contingent
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number
                                                                   Basis for the claim: Trade Debt

                                                                   Is the claim subject to offset?    No  Yes
3.218    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $860.00
         Victor Marin                                               Contingent
         P.O Box 3073                                               Unliquidated
         Florence, SC 29501                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.219    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $48,187.35
         Visual Vault LLC                                           Contingent
         215 Coles Street                                           Unliquidated
         Jersey City, NJ 07310                                      Disputed
         Date(s) debt was incurred 5/4/2023 and 5/30/2023
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.220    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $550.00
         VSC Fire & Security, Inc.                                  Contingent
         10343-B Kings Acres Road                                   Unliquidated
         Ashland, VA 23005                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.221    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $8,080.00
         VSE of Georgia, Inc.                                       Contingent
         2107 N. Decatur Rd., #518                                  Unliquidated
         Decatur, GA 30033                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.222    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $642.36
         WALTON EMC UTILITY                                         Contingent
         PO Box 1347                                                Unliquidated
         Monroe, GA 30655-1347                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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Debtor      U.S. Auto Sales, Inc.                                                           Case number (if known)            23-11251
            Name

3.223    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $732.14
         Waste Connections of North Carolina, Inc                   Contingent
         PO Box 535233                                              Unliquidated
         Pittsburgh, PA 15253                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.224    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $111.25
         Waste Connections of Tennessee                             Contingent
         PO Box 535233                                              Unliquidated
         Pittsburgh, PA 15253-5233                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.225    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $14,657.03
         WASTE MANAGEMENT                                           Contingent
         PO Box 4648                                                Unliquidated
         Carol Stream, IL 60197-4648                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.226    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $2,476.75
         Waste Management (Boston)                                  Contingent
         PO BOX 55558                                               Unliquidated
         Boston, MA 02205-5558                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.227    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $650.73
         WASTE PRO- ATLANTA                                         Contingent
         PO BOX 865245                                              Unliquidated
         Orlando, FL 32886                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.228    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $335.21
         WASTE PRO-JACKSONVILLE                                     Contingent
         PO BOX 865200                                              Unliquidated
         Orlando, FL 32886-5200                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.229    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $1,508,541.35
         WELLS FARGO BANK                                           Contingent
         500 Palmer Street                                          Unliquidated
         Delta, CO 81416                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Other
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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Debtor       U.S. Auto Sales, Inc.                                                                  Case number (if known)            23-11251
             Name

3.230     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $18,183.30
          WordStream Inc.                                                   Contingent
          101 Huntington Ave                                                Unliquidated
          Suite 7000                                                        Disputed
          Boston, MA 02199
                                                                           Basis for the claim: Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?    No  Yes
3.231     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $71.98
          WOW Business Services LLC                                         Contingent
          7887 East Belleview Ave                                           Unliquidated
          Suite 1000                                                        Disputed
          Englewood, CO 80111
                                                                           Basis for the claim: Utility Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?    No  Yes
3.232     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $43,793.90
          WWEX INVESTMENT HOLDINGS, LLC                                     Contingent
          2323 VICTORY AVENUE                                               Unliquidated
          Dallas, TX 75219                                                  Disputed
          Date(s) debt was
                                                                           Basis for the claim: Trade Debt
          incurred 5/11/2023 and 5/16/2023
          Last 4 digits of account number                                  Is the claim subject to offset?    No  Yes
3.233     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $263,062.15
          www.Trustscience.com USA INC                                      Contingent
          3400 Timmons Lane, Suite 71                                       Unliquidated
          Houston, TX 77379                                                 Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Trade Debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.234     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $683,784.05
          XXVI Holdings Inc.                                                Contingent
          PO Box 39000                                                      Unliquidated
          DEPT 33654                                                        Disputed
          San Francisco, CA 94139
                                                                           Basis for the claim: Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?    No  Yes
3.235     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $31,321.00
          Zoom Video Communications, Inc.                                   Contingent
          PO Box 888843                                                     Unliquidated
          Los Angeles, CA 90088-8843                                        Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Trade Debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes

Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.

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Debtor      U.S. Auto Sales, Inc.                                            Case number (if known)        23-11251
            Name

                                                                                              Total of claim amounts
5a. Total claims from Part 1                                                    5a.       $                 2,608,648.87
5b. Total claims from Part 2                                                    5b.   +   $                23,259,488.06

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                         5c.       $                   25,868,136.93




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Fill in this information to identify the case:

Debtor name        U.S. Auto Sales, Inc.

United States Bankruptcy Court for the:      DISTRICT OF DELAWARE

Case number (if known)      23-11251
                                                                                                                               Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           Lease for Lot located at
             lease is for and the nature of       1423 Asheville Hwy,
             the debtor's interest                Spartanburg, SC 29303.

                State the term remaining          2/28/2035                         1423 Ashville LLC
                                                                                    c/o Alan Osheff
             List the contract number of any                                        332 Chipili Drive
                   government contract                                              Northbrook, IL 60062


2.2.         State what the contract or           Lease for Lot located at
             lease is for and the nature of       3122 West Tennessee
             the debtor's interest                Street, Tallahassee, FL
                                                  32304.
                State the term remaining          4/30/2028
                                                                                    3122 West Tennessee Street, LLC
             List the contract number of any                                        4708 Capital Circle NW
                   government contract                                              Tallahassee, FL 32303


2.3.         State what the contract or           Lease for Lot located at
             lease is for and the nature of       3122 West Tennessee
             the debtor's interest                Street, Tallahassee, FL
                                                  32304.                            3122 West Tennessee Street, LLC
                State the term remaining          4/30/2028                         c/o Joshua. W. Walters, Esq.
                                                                                    Manausa, Shaw, &minacci, P.A.
             List the contract number of any                                        1701 Hermitate Blvd, Suite 100
                   government contract                                              Tallahassee, FL 32308


2.4.         State what the contract or           Lease for Lot located at
             lease is for and the nature of       5950 Lee Hwy,
             the debtor's interest                Chattanooga, TN 37421.

                State the term remaining          2/28/2028
                                                                                    8 6002 Lee, LLC
             List the contract number of any                                        2288 Gunbarrel Rd, Ste 135
                   government contract                                              Chattanooga, TN 37421




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 7
                          Case 23-11251-TMH                   Doc 3    Filed 08/25/23        Page 54 of 62
Debtor 1 U.S. Auto Sales, Inc.                                                    Case number (if known)   23-11251
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                            State the name and mailing address for all other parties with
                                                                      whom the debtor has an executory contract or unexpired
                                                                      lease

2.5.      State what the contract or        Lease for Lot located at
          lease is for and the nature of    5950 Lee Hwy,
          the debtor's interest             Chattanooga, TN 37421.

             State the term remaining       2/28/2028                     8 6002 Lee, LLC
                                                                          c/o Peter C. Ensign, Esq.
          List the contract number of any                                 61111 Shallowford Rd, Suite 105C
                government contract                                       Chattanooga, TN 37421


2.6.      State what the contract or        Lease for Lot located at
          lease is for and the nature of    2752 Laurens Rd,
          the debtor's interest             Greenville, SC 29607.

             State the term remaining       5/22/2027                     Capital Automotive L.P (MMR Holdings LLC
                                                                          c/o Stephanie M. Rochel, SVP & Secretary
          List the contract number of any                                 8484 Westpark Drive, Suite 200
                government contract                                       Mc Lean, VA 22102


2.7.      State what the contract or        Payroll system &
          lease is for and the nature of    processing - Master
          the debtor's interest             Services Agreement

             State the term remaining       June 30, 2023                 Ceridian HCM, Inc & Ceridian Dayforce
                                                                          Licensing LLC, c/o Toni Rossi, Rep.
          List the contract number of any                                 3311 East Old Shakopee Road
                government contract                                       Minneapolis, MN 55425-1640


2.8.      State what the contract or        Dealer Management
          lease is for and the nature of    System (IDMS)
          the debtor's interest

             State the term remaining       30 Days Notice                Dealer Socket, Inc.
                                                                          1500 Solana Blvd
          List the contract number of any                                 Building 6, Suite 6300
                government contract                                       Westlake, TX 76262


2.9.      State what the contract or        Hosted Data - dinCloud
          lease is for and the nature of    Master Service
          the debtor's interest             Agreement

             State the term remaining       March 31, 2022 - annual       dinCloud, LLC
                                            auto renewal                  Oak Tree Centre
          List the contract number of any                                 1990 Madison Street, Suite 105
                government contract                                       Clarksville, TN 37043




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                  Page 2 of 7
                          Case 23-11251-TMH                   Doc 3    Filed 08/25/23        Page 55 of 62
Debtor 1 U.S. Auto Sales, Inc.                                                    Case number (if known)   23-11251
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                            State the name and mailing address for all other parties with
                                                                      whom the debtor has an executory contract or unexpired
                                                                      lease

2.10.     State what the contract or        Transportation
          lease is for and the nature of    Services Agreement -
          the debtor's interest             unpaid invoices

             State the term remaining       30 Day written notice         Diz, LLC d/b/a Dismuke Transport
                                                                          c/o Andrew Dismuke
          List the contract number of any                                 1301 N Slappey Blvd STE A
                government contract                                       Albany, GA 31701-1440


2.11.     State what the contract or        Transportation
          lease is for and the nature of    Services Agreement
          the debtor's interest             -unpaid invoices

             State the term remaining       30 Day written notice         Diz, LLC d/b/a Dismuke Transport, c/o
                                                                          Thompson, O'Brien, Kappler, Nasuite P.C.
          List the contract number of any                                 2 Sun Court, Suite 400
                government contract                                       Peachtreee Corners, GA 30092


2.12.     State what the contract or        Lease for Lot located at
          lease is for and the nature of    3705 Bristol Hwy,
          the debtor's interest             Johnson City, TN
                                            37601.
             State the term remaining       6/30/2026                     Friendship Enterprises LLC
                                                                          c/o Alan Osheff
          List the contract number of any                                 332 Chipili Drive
                government contract                                       Northbrook, IL 60062


2.13.     State what the contract or        Lease for Parking Lot
          lease is for and the nature of    located at Stone
          the debtor's interest             Mountain Store, 6252
                                            Memorial Drive, Stone
                                            Mountain, GA.
             State the term remaining       12/31/2024
                                                                          Gainesville Masters, LLC (Parking)
          List the contract number of any                                 6252 Memorial Drive
                government contract                                       Stone Mountain, GA 30084


2.14.     State what the contract or        Lease for Lot located at
          lease is for and the nature of    500 West Oglethorpe
          the debtor's interest             Blvd, Albany GA.

             State the term remaining       1/31/2034                     GAINESVILLE NET LEASE, LLC
                                                                          Attn: Timothy Crowley
          List the contract number of any                                 9645 Clayton Rd, 2nd Floor
                government contract                                       Saint Louis, MO 63124




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                  Page 3 of 7
                          Case 23-11251-TMH                   Doc 3    Filed 08/25/23        Page 56 of 62
Debtor 1 U.S. Auto Sales, Inc.                                                    Case number (if known)   23-11251
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                            State the name and mailing address for all other parties with
                                                                      whom the debtor has an executory contract or unexpired
                                                                      lease

2.15.     State what the contract or        Lease for Lot located at
          lease is for and the nature of    500 West Oglethorpe
          the debtor's interest             Blvd, Albany GA.
                                                                          GAINESVILLE NET LEASE, LLC
             State the term remaining       1/31/2034                     c/o Dough Hickel, Esq.
                                                                          Summers Compton Wells
          List the contract number of any                                 903 S Lindbergh Blvd., Suite 200
                government contract                                       Saint Louis, MO 63131


2.16.     State what the contract or        Document, Vault
          lease is for and the nature of    Storage, Iamging,
          the debtor's interest             Hosting and Shredding
                                            Agreement
             State the term remaining                                     GRM
                                                                          c/o Mathew Diaz, Gen. & Operations Mgr
          List the contract number of any                                 850 Maxham Rd, Suite 1000
                government contract                                       Lithia Springs, GA 30122


2.17.     State what the contract or        Lease for Lot located at
          lease is for and the nature of    1810 Browns Bridge
          the debtor's interest             Road, Gainesville, GA.

             State the term remaining       10/5/2034                     Ideal Georgia Auto Holding LLC
                                                                          1931 Cordova Rd, #220
          List the contract number of any                                 Attn: J. Bruce Forbes
                government contract                                       Fort Lauderdale, FL 33316


2.18.     State what the contract or        Lease for Lot located at
          lease is for and the nature of    8350 Kingston Pike,
          the debtor's interest             Knoxville, TN 37919.

             State the term remaining       3/31/2030
                                                                          Julia D Schriver, Trustee
          List the contract number of any                                 6905 Sherwood Dr.
                government contract                                       Knoxville, TN 37919


2.19.     State what the contract or        Lease for Lot located at
          lease is for and the nature of    8350 Kingston Pike,
          the debtor's interest             Knoxville, TN 37919.
                                                                          Julia D Schriver, Trustee
             State the term remaining       3/31/2030                     c/o Luke D. Durham, Esq.
                                                                          Brock, Shipe, Klenk
          List the contract number of any                                 265 Brookview Centre Way, Suite 604
                government contract                                       Knoxville, TN 37919




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                  Page 4 of 7
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Debtor 1 U.S. Auto Sales, Inc.                                                    Case number (if known)   23-11251
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                            State the name and mailing address for all other parties with
                                                                      whom the debtor has an executory contract or unexpired
                                                                      lease

2.20.     State what the contract or        Lease for Lot located at
          lease is for and the nature of    3700 S. Orange
          the debtor's interest             Blossom Trail, Orlando,
                                            FL 32839.
             State the term remaining       6/30/2029
                                                                          Kipp and Paula Parker
          List the contract number of any                                 19173 Rd 193
                government contract                                       Limon, CO 80828


2.21.     State what the contract or        Lease for Lot located at
          lease is for and the nature of    2172 Parkwood Dr.,
          the debtor's interest             Snellville, GA 30078
                                            (Centerville Store)
             State the term remaining       3/31/2024
                                                                          Larry Pearson (Centerville Rent)
          List the contract number of any                                 818 Barefoot Cove Circle
                government contract                                       West Union, SC 29696


2.22.     State what the contract or        Lease for Lot located at
          lease is for and the nature of    Forest Park, 7780 Tara
          the debtor's interest             Blvd, Jonesboro, GA
                                            30236.
             State the term remaining       10/31/2027
                                                                          MADISON-FAIRGROUND, LLC
          List the contract number of any                                 P.O. Box 882
                government contract                                       Madison, GA 30650


2.23.     State what the contract or        Hosted Data - Onepath
          lease is for and the nature of    Master Service
          the debtor's interest             Agreement

             State the term remaining       August 1, 2018 - annual
                                            auto renewal                  Onepath Systems, LLC db/a/ Onepath
          List the contract number of any                                 170 Chastain Meadows Court
                government contract                                       Kennesaw, GA 30144


2.24.     State what the contract or        Lease for Lot located at
          lease is for and the nature of    19206 US Highway 19N,
          the debtor's interest             Clearwater, FL 33764.

             State the term remaining       6/30/2024
                                                                          Panevas LLC
          List the contract number of any                                 c/o Michael Kastrenakes
                government contract                                       Pinellas Park, FL 33781




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                  Page 5 of 7
                          Case 23-11251-TMH                   Doc 3    Filed 08/25/23        Page 58 of 62
Debtor 1 U.S. Auto Sales, Inc.                                                    Case number (if known)   23-11251
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                            State the name and mailing address for all other parties with
                                                                      whom the debtor has an executory contract or unexpired
                                                                      lease

2.25.     State what the contract or        Lease for Lot located at
          lease is for and the nature of    709 Carnegie Place,
          the debtor's interest             Greensboro, NC 27409.

             State the term remaining       8/31/2025
                                                                          Rocks On Properties, LLC
          List the contract number of any                                 c/o Gilbert Rockson
                government contract                                       Greensboro, NC 27404


2.26.     State what the contract or        Lease for Lot located at
          lease is for and the nature of    709 Carnegie Place,
          the debtor's interest             Greensboro, NC 27409.
                                                                          Rocks On Properties, LLC
             State the term remaining       8/31/2025                     c/o Jennifer N. Fountain, Esq.
                                                                          Isaacson Sheridian
          List the contract number of any                                 804 Greenv Valley Rd, Suite 200
                government contract                                       Greensboro, NC 27408


2.27.     State what the contract or        Parking Lease for Lot
          lease is for and the nature of    located at 3045
          the debtor's interest             Sweetwater Terrace,
                                            Lithia Springs, GA
                                            30122.
             State the term remaining       30 days notice
                                                                          Sandy Euclid (Lithia Parking Lease)
          List the contract number of any                                 205 Thornton Rd
                government contract                                       Lithia Springs, GA 30122


2.28.     State what the contract or        Smart Copy Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining       Various depending on
                                            installation of
                                            equipment-refer to
                                            schedule                      Standard Office Systems
          List the contract number of any                                 2475 Meadowbrook Pkwy
                government contract                                       Duluth, GA 30096


2.29.     State what the contract or        Smart Copy Agreement
          lease is for and the nature of    - Lessor: Great
          the debtor's interest             American Financial
                                            Services Corporation
             State the term remaining       Various depending on
                                            installation of               Standard Office Systems
                                            equipment-refer to            Randall D Armentrout & Leslie C. Behaune
                                            schedule                      Nyemaster Goode, P.C.
          List the contract number of any                                 700 Walnut, Suite 1600
                government contract                                       Des Moines, IA 50309




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                  Page 6 of 7
                          Case 23-11251-TMH                   Doc 3    Filed 08/25/23        Page 59 of 62
Debtor 1 U.S. Auto Sales, Inc.                                                    Case number (if known)   23-11251
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                            State the name and mailing address for all other parties with
                                                                      whom the debtor has an executory contract or unexpired
                                                                      lease

2.30.     State what the contract or        Lease for Lot located at
          lease is for and the nature of    1725 Main Street,
          the debtor's interest             Gainesville, FL 32609.

             State the term remaining       11/30/2024
                                                                          Tajalli & Tajalli
          List the contract number of any                                 13867 NW 30th Road
                government contract                                       Gainesville, FL 32606


2.31.     State what the contract or        Lease for Lot located at
          lease is for and the nature of    2444 & 2446 Covington
          the debtor's interest             Pike, Memphis, TN
                                            37919.
             State the term remaining       12/31/2026
                                                                          Team Auto Investment Group, LLC
          List the contract number of any                                 7300 Winchester Rd
                government contract                                       Memphis, TN 38125


2.32.     State what the contract or        Lease for Lot located at
          lease is for and the nature of    2444 & 2446 Covington
          the debtor's interest             Pike, Memphis, TN
                                            37919.                        Team Auto Investment Group, LLC
             State the term remaining       12/31/2026                    c/o Mark J. Grai, Esq.
                                                                          The Winchester Law Firm
          List the contract number of any                                 6060 Poplar Avenue, Suite 295
                government contract                                       Memphis, TN 38119


2.33.     State what the contract or        eOriginal - Document
          lease is for and the nature of    Electronic Vaulting
          the debtor's interest             Service

             State the term remaining       June 30, 2025                 WoltersKluwer
                                                                          c/o Barb Kinzer
          List the contract number of any                                 250 West Pratt Street, Suite 1400
                government contract                                       Baltimore, MD 21201


2.34.     State what the contract or        Lease for Lot located at
          lease is for and the nature of    5702-5708 Yadkin
          the debtor's interest             Road, Fayetteville, NC
                                            28303.
             State the term remaining       8/31/2030                     Yadkin Road Partners LLC
                                                                          c/o Desmond G Sheridan
          List the contract number of any                                 804 Green Valley Road, Suite 200
                government contract                                       Greensboro, NC 27408




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                  Page 7 of 7
                            Case 23-11251-TMH                  Doc 3        Filed 08/25/23            Page 60 of 62

Fill in this information to identify the case:

Debtor name      U.S. Auto Sales, Inc.

United States Bankruptcy Court for the:   DISTRICT OF DELAWARE

Case number (if known)   23-11251
                                                                                                                          Check if this is an
                                                                                                                              amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

 No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                          Name                            Check all schedules
                                                                                                                               that apply:

   2.1    U.S. Auto                   P.O. Box 1203                                            MidCap Financial                D       2.2
          Finance, Inc.               Lawrenceville, GA 30046                                  Trust                            E/F
                                      Guarantor under MidCap Financial Trust
                                                                                                                               G
                                      loan




   2.2    USASF Holdco                c/o The Corporation Trust Company                        Ally Financial Inc.             D       2.1
          LLC                         1209 Orange Street                                                                        E/F
                                      Wilmington, DE 19801
                                                                                                                               G
                                      Guarantor under Ally Financial Inc. loan




   2.3    USASF LLC                   c/o The Corporation Trust Company                        Ally Financial Inc.             D       2.1
                                      1209 Orange Street                                                                        E/F
                                      Wilmington, DE 19801
                                                                                                                               G
                                      Guarantor under Ally Financial Inc. loan




   2.4    USASF LLC                   c/o The Corporation Trust Company                        MidCap Financial                D       2.2
                                      1209 Orange Street                                       Trust                            E/F
                                      Wilmington, DE 19801
                                                                                                                               G
                                      Guarantor under MidCap Financial Trust
                                      loan




Official Form 206H                                                    Schedule H: Your Codebtors                                            Page 1 of 2
                          Case 23-11251-TMH               Doc 3       Filed 08/25/23         Page 61 of 62

Debtor    U.S. Auto Sales, Inc.                                                   Case number (if known)   23-11251


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.5     USASF National           c/o The Corporation Trust Company                   MidCap Financial               D      2.2
          Corp.                    1209 Orange Street                                  Trust                           E/F
                                   Wilmington, DE 19801
                                                                                                                      G
                                   Guarantor under MidCap Financial Trust
                                   loan




  2.6     USASF Servicing          1855 Satellite Blvd.                                MidCap Financial               D      2.2
          LLC                      Suite 100                                           Trust                           E/F
                                   Duluth, GA 30097
                                                                                                                      G
                                   Guarantor under MidCap Financial Trust
                                   loan




Official Form 206H                                              Schedule H: Your Codebtors                                     Page 2 of 2
                              Case 23-11251-TMH                    Doc 3           Filed 08/25/23       Page 62 of 62




Fill in this information to identify the case:

Debtor name         U.S. Auto Sales, Inc.

United States Bankruptcy Court for the:     DISTRICT OF DELAWARE

Case number (if known)     23-11251
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       August 25, 2023                 X /s/ Mark Houston
                                                           Signature of individual signing on behalf of debtor

                                                            Mark Houston
                                                            Printed name

                                                            Chief Restructuring Officer
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
